
Chief Justice Robertson
delivered the Opinion of the Court.
On an indictment for a Riot, no prosecutor is required by the law of this State; and this Court has no revisory jurisdiction. The Commonwealth vs. Martin et al. 6 J. J. M. 616.
The second count in the indictment, in this case, being for a Riot, no prosecutor, as to that count at least, was necessary ; and therefore the Circuit Judge certainly erred in quashing the indictment on the ground that the residence of the prosecutor, whose name was attached to it, was not designated.
But, for want of jurisdiction, this Court cannot correct the error in the judgment of the Circuit Court.
Wherefore, the writ of error must be dismissed.
